                 Case 3:15-cr-00174-W Document 86 Filed 01/16/18 PageID.844 Page 1 of 4
AO 2458 (CASDRev. 08113) Judgment in a Criminal Case
                                                                                                               Fl
                                      UNITED STATES DISTRICT Co                                                JAN 16 2018
                                         SOUTHERN DISTRICT OF CALIFORNIA
             UNITED STATES OF AMERICA
                                 v.
           MARCHELLO DSAUN MCCAIN (1)
                                                                       CaseNumber:          15CR0174-W

                                                                    David Zugman
                                                                    Defendant's Attorney
REGISTRATION NO.                 49110298

D -
THE DEFENDANT:
IZI pleaded guilty to count(s)         1 - 7 of the Second Superseding Indictment
Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                     Count
Title & Section                   Nature of Offense                                                                 Number(s)
18 USC 922(g)( 1)                 FELON IN POSSESSION OF FIREARMS AND AMMUNITION                                      1-4, 6

18 USC 931                        POSSESSION OF BODY ARMOR BY VIOLENT FELON                                               5

18 USC 1001(a)(2)                 FALSE STATEMENTS INVOLVING INTERNATIONAL                                                7
                                  TERRORISM




     The defendant is sentenced as provided in pages 2 through                4            of this judgment.
The sentence is imposed pursuant to the Sentencing Reform Act of 1984.
D     The defendant has been found not guilty on count(s)

[ZJ   Count(s)    remaining in underlying Indictments         are         dismissed on the motion of the United States.

IZI Assessment : $700.00 ($100 per counts 1-7)


IZI No fine                   IZI Forfeiture pursuant to order filed     4 /28/2017                   , included herein.
       IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant shall notify the court and United States Attorney of
any material change in the defendant's economic circumstances.




                                                                                                  ELAN
                                                                                               DISTRICT JUDGE


                                                                                                                      15CR0174-W
             Case 3:15-cr-00174-W Document 86 Filed 01/16/18 PageID.845 Page 2 of 4
AO 245B (CASO Rev. 08/13) Judgment in a Criminal Case

DEFENDANT:                MARCHELLO DSAUN MCCAIN (1)                                             Judgment - Page 2 of 4
CASE NUMBER:              15CR0174-W

                                                 IMPRISONMENT
 The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of:
 Counts 1-4, and 6: 120 months; Count 5: 36 months; Count 7: 96 months. All Counts to serve concurrently to one another
 for a total custodial term of 120 months.




 D     Sentence imposed pursuant to Title 8 USC Section 1326(b).
 ~     The court makes the following recommendations to the Bureau of Prisons:
       That the defendant be placed in a facility that has vocational training to allow the defendant to learn a
       trade (Phoenix, Arizona or Terminal Island)
       That the defendant participate in the 500 hours drug abuse treatment program (RDAP)



 D     The defendant is remanded to the custody of the United States Marshal.

 D     The defendant shall surrender to the United States Marshal for this district:
       D     at                            A.M.              on
       D     as notified by the United States Marshal.

       The defendant shall surrender for service of sentence at the institution designated by the Bureau of
 D
       Prisons:
       D     on or before
       D     as notified by the United States Marshal.
       D     as notified by the Probation or Pretrial Services Office.

                                                      RETURN

 I have executed this judgment as follows:

       Defendant delivered on                                            to

 at   ~~~~~~~~~~~~
                                         , with a certified copy of this judgment.


                                                                  UNITED STATES MARSHAL



                                    By                     DEPUTY UNITED STA TES MARSHAL



                                                                                                        15CR0174-W
                     Case 3:15-cr-00174-W Document 86 Filed 01/16/18 PageID.846 Page 3 of 4
    AO 2458 (CASO Rev. 08/13) Judgment in a Criminal Case

    DEFENDANT:                       MARCHELLO DSAUN MCCAIN (1)                                                                    Judgment - Page 3 of 4
    CASE NUMBER:                     15CR0174-W

                                                             SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:
Three (3) years as to each counts 1-7 to serve concurrently to one another.


     The defendant shall report to the probation office in the district to which the defendant is released within 72 hours ofrelease from the
custody of the Bureau of Prisons unless removed from the United States.
The defendant shall not commit another federal, state or local crime.
For offenses committed on or after September 13, 1994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days ofrelease from imprisonment and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than 8 drug tests per month during the
term of supervision, unless otherwise ordered by court.
          The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of future
D
          substance abuse. (Check, if applicable.)
          The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
          The defendant shall cooperate in the collection of a DNA sample from the defendant, pursuant to section 3 of the DNA Analysis
          Backlog Elimination Act of2000, pursuant to 18 USC section 3583(a)(7) and 3583(d).
          The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U .S.C. § 16901, et
D         seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she
          resides, works, is a student, or was convicted of a qualifying offense. (Check if applicable.)
D         The defendant shall participate in an approved program for domestic violence. (Check if applicable.)

          If this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release that the defendant pay any
     such fine or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the Schedule of
     Payments set forth in this judgment.
          The defendant shall comply with the standard conditions that have been adopted by this court. The defendant shall also comply
      with any special conditions imposed.
                                             STANDARD CONDITIONS OF SUPERVISION
     I)     the defendant shall   not leave the judicial district without the permission of the court or probation officer;
     2)     the defendant shall   report to the probation officer in a manner and frequency directed by the court or probation officer;
     3)     the defendant shall   answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
     4)     the defendant shall   support his or her dependents and meet other family responsibilities;
     5)     the defendant shall   work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other acceptable
            reasons;
     6)     the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
     7)     the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled substance or
            any paraphernalia related to any controlled substances, except as prescribed by a physician;
     8)     the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
     9)     the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a felony,
            unless granted permission to do so by the probation officer;
     I 0)   the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any contraband
            observed in plain view of the probation officer;
     11)    the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
     12)    the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the permission of
            the court; and
     13)    as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal record or
            personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the defendant's compliance
            with such notification requirement.



                                                                                                                                            15CR0174-W
             Case 3:15-cr-00174-W Document 86 Filed 01/16/18 PageID.847 Page 4 of 4
AO 2458 (CASD Rev. 08/ 13) Judgment in a Criminal Case

DEFENDANT:              MARCHELLO DSAUN MCCAIN (1)                                            Judgment - Page 4 of 4
CASE NUMBER:            15CR0174-W

                                 SPECIAL CONDITIONS OF SUPERVISION

     1. Submit person, property, place ofresidence, vehicle, or personal effects to a search, conducted by a United
        States Probation Officer at a reasonable time and in a reasonable manner, based upon reasonable suspicion
        of contraband or evidence of a violation of a condition of release; failure to submit to a search may be
        grounds for revocation; the defendant shall warn any other residents that the premises may be subject to
        searches pursuant to this condition.


     2. Resolve all outstanding warrants within 60days.


II




                                                                                                     15CR0174-W
